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JS 44 (Rev. 12/12)

1. (a) PLAINTIFFS.

StU SG

Ace aS

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet “SEE INSTRUC TIONS ON NEXT PAGE OF THIS FORM.)

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Cod E00 DEFENDANTS Depety Teo tl Preklpe

REE 2
(b) County of Residence of First Listed rtainitt SZORAMP O County of Residence of First Listed Defendant PREM 2

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number) f’ (ey pe C

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Attomeys (/f Known) tty Atle rhe 7

LU. BASIS OF JURISDICTION (Place an “XN” in One Box Onby)

O01 US. Government
Plaintitf

O 2 US. Government
Defendant

@> Federal Question +

{tLS. Government Not a Party)

4 Diversity

Undicate Citizenship of Parties in lem HH)

Hi. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only and One Box for Defendant)
£. DEF PTF DEF
Citizen of This State | QF 1 incorporated or Principal Place a4 04

of Business In This State

Citizen of Another State 2 (© 2 Incorporated and Principal Place 7 5 oS
of Business In Another State

Citizen or Subject of a O3 © 3 Foreign Nation O 6 O86
Foreign Country

IV. NATURE O

IT (Place an “X” in One

Box Only)

CONTRACT =

eg TORTS:

 FOREETEURE/PENALTY: [BANKRUPTCY =

110 Insurance

120 Marine

130 Miller Act

140 Negotiable Instrument

150 Recovery of Overpayinent
& Enforcement of Judgment

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

0 153 Recovery of Overpayment

of Veteran’s Benefits

© 160 Stockholders’ Suits

O 190 Other Contract

o

0

OQ Qn000

195 Contract Product Liability
196 Franchise

PERSONAL INJURY

© 310 Airplane

O 315 Airplane Product
Liability

0 320 Assault, Libel &
Slander

© 330 Federal Employers’
Liability

O 340 Marine

O 345 Marine Product
Liability

350 Motor Vehicle

O 355 Motor Vehicle
Product Liability

O 360 Other Personal
Injury

O 362 Personal Injury -
Medical Malpractice

PERSONAL INJURY

OF 365 Personal Injury -
Product Liability

(7 367 Health Care/
Pharmaceutical
Personal Injury
Product Liability

1 368 Asbestos Personal
Injury Product
Liability

PERSONAL PROPERTY

© 370 Other Fraud

0 37) Truth in Lending

© 380 Other Personal
Property Damage

0 385 Property Damage
Product Liability

[ees oe REAL: PROPERTY.

-CIVEL RIGHTS <2:

‘PRISONER PETITIONS ©:

(J 210 Land Condemnation
220 Foreclosure

O 230 Rent Lease & Ejectment
© 240 Torts to Land

CP 245 Tort Product Liability
J 290 All Other Real Property

(eetO Other Civil Rights

O 441 Voting

0 442 Employment

(3 443 Housing/
Accommodations

(1 445 Amer. w/Disabilities -
Employinent

0 446 Amer, w/Disabilities -
Other

0 448 Education

Habeas Corpus:

0) 463 Alien Detainee

[] 510 Motions to Vacate
Sentence

530 General

535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

000g O20

0 625 Dnig Related Seizure 0 422 Appeal 28 USC 158 375 False Claims Act
of Property 21 USC 881 | 423 Withdrawal O 400 State Reapportionment
O 690 Other 28 USC 157 O 410 Antitrust
QO 430 Banks and Banking
= PROPERTY RIGHTS = 0 450 Commerce
O 820 Copyrights © 460 Deportation
© §30 Patent O 476 Racketeer Influenced and
0 840 Trademark Corrupt Organizations
0 480 Consumer Credit
poo LABOR ee fs SOCIAL; SECURIFY. 2] 0 490 Cable/Sat TV
O 710 Fair Labor Standards O 861 HIA (1395 ff) 0 850 Securities/Commodities/
Act O 862 Black Lung (923) Exchange
O 72) Labor/Management 0 863 DIWC/DIWW (405(g)) | 890 Other Statutory Actions
Relations O 864 SSID Tithe XVI O 891 Agricultural Acts
O 740 Railway Labor Act O 865 RSI (405(2)) O 893 Environinental Matters
O 751 Family and Medical 895 Freedom of Information
Leave Act Act
() 790 Other Labor Litigation O 896 Arbitration
7 791 Employee Retirement 2 REDERAL TAX -SUITS 0 899 Administrative Procedure

Income Security Act ) 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
or Defendant) Agency Decision
O 871 IRS—Third Party ( 950 Constitutionality of
26 USC 7609 _ State Statutes
“IMMIGRATION oe

©) 462 Naturalization Application
465 Other Immigration
Actions

V. ORIGIN (Place an“ itv One Box Onky)

a Original 2 Removed from O 3  Remanded from 1 4 Reinstated or 5 Transferred from 1 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation
(specify)

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do stot cite jurisdictional statutes unless diversity):

i > ,
Brief description of cause: G CCach,, awe CASCTAlte

VIL REQUESTED IN
COMPLAINT:

@ CHECK IF THIS

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

. 4 }
DEMAND S q or & ACE CHECK YES only if demanded in complaint:
my Jeo. JURY DEMAND: @# Yes No

VIL. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING (FP JUDGE MAG. JUDGE

219 -CV - 018 8 TLN EFB PS

